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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

ORLANDO, FLORIDA
InRe: —_ Louis J. Pearlman ) Case No. 6:07-bk-00761-ABB
) Chapter 11
Debtor } Judge Briskman
Hearing Requested on 12/13/07

 

AARON CARTER’S MOTION FOR ORDER DIRECTING THE CLERK OF THE
COURT TO REMOVE FROM THE DOCKET CERTAIN PAGES AS TO AARON
CARTER’S MOTION TO COMPEL TRUSTEE TO ASSUME OR REJECT
MANAGEMENT CONTRACT AND RECORDING CONTRACT

 

Comes now AARON CARTER (hereinafter referred to as “Movant”), by and through

his undersigned counsel, and moves this Court to enter an order directing the Clerk of Court to

remove from the docket the following documents:

Ll.

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Page 8 of the Personal Management Agreement, attached as Exhibit A to the
Movant’s Motion to Compel The Debtors to Assume or Reject Management
Contract; To Compel Debtors' Performance Pending Assumption or
Rejection; To Compel Debtors' Performance Under 11 U.S.C. Section
365(d)(3) filed on July 31, 2007 (Dkt. No. 224);

Page 21 of the Exclusive Recording Artist Agreement attached as Exhibit A to
the Movant’s Motion to Compel The Debtors to Assume or Reject Recording
Contract; To Compel Debtors' Performance Pending Assumption or
Rejection; To Compel Debtors’ Performance Under 11 U.S.C. Section
365(d)(3) filed on July 31, 2007 (Dkt. No. 225); and

Pages 12 and 33 of the Order Granting, in part, the Motion of Aaron Carter to

Compel Debtor to Assume or Reject Management Contract and Recording

 

 
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Contract; To Compel Debtor’s Performance Under 11 U.S.C. § 365(d)(3) to
Enforce Terms of Letter of Agreement attached as Composite Exhibit A (Dkt.
No. 677);

In support thereof, Movant states as follows:

A. On July 31, 2007, Movant initiated this proceeding by filing his Motion to
Compel The Debtors to Assume or Reject Management Contract; To Compel Debtors'
Performance Pending Assumption or Rejection; To Compel Debtors' Performance Under 11
U.S.C. Section 365(d)(3) against Louis J. Pearlman and Louis J, Pearlman Enterprises, Inc, in
- Case Nos. 6:07-bk-00761 and 6:07-bk-01505, respectively.

B. On July 31, 2007, Movant also filed his Motion to Compel The Debtors to
Assume or Reject Recording Contract; To Compel Debiors' Performance Pending Assumption or
Rejection; To Compel Debtors' Performance Under 11 U.S.C. Section 365(d)(3) against Louis J.
Pearlman, ‘Trans-Continental Records, Inc., and Louis J. Pearlman Enterprises, Inc. in Case Nos.
6:07-bk-00761, 6:07-bk-00832, and 6:07-bk-01505, respectively.

C. The Movant’s Motion to Compel The Debtors to Assume or Reject Management
Contract; To Compel Debtors' Performance Pending Assumption or Rejection; To Compel
Debtors' Performance Under 11 U.S.C. Section 365(d)(3) (Dkt. No. 224) and Motion to Compel
The Debtors to Assume or Reject Recording Contract; To Compel Debtors’ Performance
Pending Assumption or Rejection; To Compel Debtors’ Performance Under 11 U.S.C. Section
365(d)(3) (Dkt. No. 225) (collectively referred to hereafter as “the Motions”) contained the
personal identification information of the Movant on page 8 of the Personal Management
Agreement, attached as Exhibit A to Dkt. No. 224 and Page 21 of the Exclusive Recording Artist
Agreement attached as Exhibit A to Dkt. No. 225 (collectively referred to hereafter as “the

Exhibits”),

 

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dD. Subsequently, this Court entered an Order jointly administering Case Nos. 6:07-
bk-00761, 6:07-bk-00832, and 6:07-bk-01505 under the instant lead case, Case No. 6:07-bk-
00761, on July 31, 2007 (Dkt. No. 228);

E. On October 24, 2007, the Court entered the Order Granting, in part, the Motion of
Aaron Carter to Compel Debtor to Assume or Reject Management Contract and Recording
Contract; To Compel Debtor’s Performance Under 11 U.S.C. § 365(d)(3); To Enforce Terms of
Letter of Agreement (Dkt. No. 677) attaching page 8 of the Personal Management Agreement
and page 21 of the Exclusive Recording Artist Agreement, attached as pages 12 and 33,
respectively, of the Composite Exhibit A to the Order.

F, Currently, the Exhibits and the Order containing the Movant’s personal
identification information can be viewed on and downloaded by the public from the Court’s
CM/ECF website, thus promulgating the potential for identity theft. In addition, there is no
notation on the face of the Exhibits or the Order redacting the personal identification information
from the public record.

Relief Requested

1, The Movant hereby requests that this Court enter an Order directing the Clerk of
the Court to immediately remove from the docket:

a. Page 8 of the Personal Management Agreement, attached as Exhibit A to
the Movant’s Motion to Compel The Debtors to Assume or Reject
Management Contract; To Compel Debtors' Performance Pending
Assumption or Rejection; To Compel Debtors’ Performance Under 11
ULS.C, Section 365(d}(3) filed on July 31, 2007 (Dkt. No. 224);

b, Page 21 of the Exclusive Recording Artist Agreement attached as Exhibit

A to the Movant’s Motion to Compel The Debtors to Assume or Reject

 

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Recording Contract; To Compel Debtors' Performance Pending
Assumption or Rejection; To Compel Debtors' Performance Under 11
U.S.C. Section 365(d)(3) filed on July 31, 2007 (Dkt. No. 225); and

c. Pages 12 and 33 of the Order Granting, in part, the Motion of Aaron
Carter to Compel Debtor to Assume or Reject Management Contract and
Recording Contract; To Compel Debtor’s Performance Under 11 U.S.C. §
365(d)(3) to Enforce Terms of Letter of Agreement attached as Composite
Exhibit A (Dkt. No. 677).

2, In the alternative, the Movant hereby requests that this Court enter an Order
directing the Clerk of the Court to place the above-referenced images (a-c) under Court Sealk as
anyone with internet access may currently view and retrieve from CM/ECF the above-referenced
documents containing the Movant’s personal identification information.

3. Consequently, interested or disinterested persons, may obtain access to view
Movant’s personal identification information, promulgating the possibility of identity theft to the
Movant's detriment.

4, Counsel for the Movant has attempted to resolve this issue with the Clerk of the
Court, but has been advised that absent a court order, the images containing the personal
identification will remain available on CM/ECE as public record.

5. Counsel for the Movant also requests that this Motion be set for hearing on
December 13, 2007 at 10:00 a.m. to coincide with the next hearing currently set in this case.

WHEREFORE, Movant, AARON CARTER, respectfully requests that this Court enter
an Order directing the Clerk of the Court to remove the documents referenced above under 1.(a).

through 1.(c). from the docket; or in the alternative, Movant respectfully requests that this Court

 

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enter an Order directing the Clerk of the Court to place the above-referenced documents under
Court Seal; and providing for such other and further relief as this Court deems just and proper,

Respectfully submitted,

/s/ Clay M. Townsend

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Attorneys for Aaron Carter

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on November 5th, 2007, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to all CM/ECF participants.

/s/ Clay M. Townsend
Clay M. Townsend

 

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